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         Gould
        Exhibit A
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Subject:    Re: Sony v. Cox - Exchange of Search Parameters
Date:       Friday, January 11, 2019 at 2:26:04 PM Eastern Standard Time
From:       Kerry MusHco
To:         Golinveaux, Jennifer A.
CC:         Kearney, Thomas, Jeﬀ Gould, Buchanan, Tom, ScoN Zebrak
A8achments: image001.jpg

Jennifer,

The parHes have discussed in numerous leNers and calls the prospect of each party proposing search terms to
idenHfy potenHally responsive documents. Your email below thus comes as a surprise. Are you refusing to
provide the search terms Cox is using to idenHfy potenHally responsive documents? If so, please explain the
basis for your refusal and Cox’s unilateral approach to discovery. See, e.g., Burd v. Ford Motor Co., 2015 WL
4137915, at *8 (S.D. W. Va. July 8, 2015) (“The obligaHon on the parHes to meet and confer early in the case
includes a discussion that can and should include cooperaHve planning, rather than unilateral decision-
making, about maNers such as the . . . number and idenHHes of custodians whose data will be preserved and
collected . . . and search terms and methodologies to be employed to idenHfy responsive data.”) (internal
quotaHons and citaHons omiNed).

As for PlainHﬀs’ responses to Cox’s document requests, you miss the point and have mischaracterized the
process. Your leNer sent today to Jeﬀ Gould conHnues that mischaracterizaHon and we will respond to the
leNer in due course. Cox served 175 document requests that are massively objecHonable in scope, breadth,
and relevance. We have tried at length — in numerous leNers explaining our objecHons and hours of calls
trying to understand what Cox actually seeks — to determine a reasonable scope of discovery tailored to
actual issues in the case. In most cases, you and your colleagues have been unable to jusHfy the requests or
demonstrate any willingness to narrow them. Worse sHll, you try to distract from Cox’s shortcomings by
criHcizing the rate of PlainHﬀs’ document producHon despite PlainHﬀs’ diligence in reviewing and producing
documents. As you know, PlainHﬀs have produced nearly 300,000 documents and Cox has produced only
deposiHons and some (but not all) compelled trial exhibits from a prior case. Regardless, in an eﬀort to move
these issues forward, we will be serving supplemental responses to Cox’s First RFPs later today, which should
resolve many of the issues we’ve been discussing and correct many of the mischaracterizaHons in your leNer
of earlier today.

Regards,

Kerry M. MusHco
Oppenheim + Zebrak, LLP
202.480.2174 (direct)
kerry@oandzlaw.com
______________________________

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From: "Golinveaux, Jennifer A." <JGolinveaux@winston.com>
Date: Thursday, January 10, 2019 at 7:59 PM
To: Kerry MusHco <Kerry@oandzlaw.com>

                                                                                                                  Page 1 of 3
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Cc: "Kearney, Thomas" <TKearney@winston.com>, Jeﬀ Gould <Jeﬀ@oandzlaw.com>, "Buchanan, Tom"
<TBuchana@winston.com>
Subject: RE: Sony v. Cox - Exchange of Search Parameters

Hi Kerry,

Thank you for your email. As I indicated during our call this past Monday, the parties have never
agreed to broad exchanges of search terms and custodians across RFPs involving ESI. While you said
on the phone that the FRCP mandates such an exchange, we are unaware of such a provision and
you have identified none. Instead, Plaintiffs offered to identify search terms and custodians--after the
appropriate diligence with their clients of course--as a way to address the parties’ disputes regarding
certain of Cox’s document requests to which Plaintiffs have initially objected. Although we initially
discussed these requests more than three weeks ago, Plaintiffs have yet to provide any more detail
on their proposal or to provide the proposed search terms. Even more troubling, during our call this
past Monday, you and your colleagues seemed to indicate that Plaintiffs had not yet even begun to
search for responsive ESI, despite Cox having served its discovery requests almost two months ago
now. This is entirely unacceptable in light of the case schedule. Please confirm when Plaintiffs expect
to complete their production.

Jennifer

Jennifer Golinveaux
Winston & Strawn LLP
D: +1 415-591-1506
M: +1 415-699-1802
winston.com




From: Kerry MusHco <Kerry@oandzlaw.com>
Sent: Tuesday, January 8, 2019 4:47 PM
To: Golinveaux, Jennifer A. <JGolinveaux@winston.com>
Cc: Kearney, Thomas <TKearney@winston.com>; Jeﬀ Gould <Jeﬀ@oandzlaw.com>
Subject: Sony v. Cox - Exchange of Search Parameters

Dear Jennifer,

Following up on our meet and confer yesterday, we write to detail our proposal for the parHes to
exchange and aNempt to agree on the ESI search parameters each party will use. Accordingly, we
propose the following:

      By Friday, Jan. 11 at 5 pm PST, the parHes send the opposing party a list of the search terms,
      custodians, and Hme period it/they propose to use to search for responsive ESI. The parHes
      should also include a list of the RFPs that all of the search parameters (together) are intended to
      address.
      By Monday, Jan. 14 at 5 pm PST, the parHes provide any addiHonal terms/parameters they
      propose the other party include in their searches.
      On Wednesday, Jan. 16, the parHes meet and confer, to the extent necessary.

Please let us know if you are amenable to this proposal.


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Regards,

Kerry M. MusHco
Oppenheim + Zebrak, LLP
5225 Wisconsin Avenue, NW | Suite 503
Washington, DC 20015
202.480.2174 (direct) | 202.480.2999 (main)
kerry@oandzlaw.com | www.oandzlaw.com

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